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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF IDAHO
                                     Eastern Division


Wesco Insurance Company,                             Case Number _________________

                     Plaintiff,

v.                                                            COMPLAINT FOR
                                                          DECLARATORY JUDGMENT
Yellowstone Partners, LLC; David H. Hansen;
Richard K. Baird; Paul Weimer; Michael G.
Dustin; KayLynn Dalebout,

                     Defendants.


       Plaintiff, Wesco Insurance Company, by and through its undersigned attorneys, brings

this Complaint for Declaratory Judgment against the above-named Defendants regarding

Wesco’s obligations under an Insurance Policy issued by Wesco to Yellowstone Partners, LLC.

In support of its cause of action, Wesco states as follows:

                                        I.      PARTIES

       1.       Plaintiff Wesco Insurance Company (“Wesco”) is a corporation incorporated

under the laws of the State of Delaware. Wesco has its principal place of business in New York,

New York, and is located at 59 Maiden Lane, 6th Floor, New York, NY 10038.

       2.       Defendant Yellowstone Partners, LLC (“Yellowstone”) is a limited liability

company formed under the laws of the State of Idaho. Yellowstone has its principal place of

business in Idaho Falls, Idaho, and is located at 3340 Merlin Drive, Idaho Falls, Idaho 83404.

       3.       The sole owner and member of Yellowstone is DeGrande Management, LLC.

Upon information and belief, DeGrande Management is a limited liability company formed




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under the laws of the State of Wyoming, and has its principal place of business in Buffalo,

Wyoming.

       4.       The sole owner and member DeGrande Management, LLC is Doyle Beck. Upon

information and belief, Beck is a resident of Idaho Falls, Idaho.

       5.       Defendant David H. Hansen, is Yellowstone’s former CEO. Upon information

and belief, Hansen is a resident of the State of Arizona, residing at 22073 E. Munoz Court,

Queen Creek, Arizona 85142.

       6.       Defendant Richard K. Baird is a former CEO and former Chief Investment

Officer of Yellowstone. Upon information and belief, Baird is a resident of the State of Utah,

residing at P.O. Box 788, Santa Clara, Utah 84765.

       7.       Defendant Paul Weimer is Yellowstone’s former Chief Operating Officer. Upon

information and belief, Weimer is a resident of the State of Idaho, residing at 1898 W. 4300

South, Rexburg, Idaho 83440.

       8.       Defendant Michael G. Dustin is Yellowstone’s former Municipal Bond Manager.

Upon information and belief, Dustin is a resident of the State of Idaho, residing at 1991

Bobwhite Drive, Ammon, Idaho 83401.

       9.       Defendant KayLynn Dalebout is Yellowstone’s current Chief Financial Officer,

and prior Financial Controller. Upon information and belief, Dalebout is a resident of the State

of Idaho, residing at 253 Georgetown Court, Idaho Falls, Idaho 83404.

                            II.     JURISDICTION AND VENUE

       10.      This Court has the power to determine the parties’ respective rights and other

legal obligations as requested herein pursuant to the Federal Declaratory Judgment Act, 28




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U.S.C. §§ 2201-2202. The dispute between Wesco and Defendants, discussed below, creates an

actual controversy for this Court to adjudicate.

        11.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§ 1332, because the amount in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs, and the matter is between citizens of different states.

        12.     Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b) and Local Civil

Rule 3.1, because a substantial part of the events giving rise to this suit occurred in this judicial

district and division.

                               III.      FACTUAL ALLEGATIONS

        A.      Yellowstone Self-Reports that it Improperly Took Customer Funds

        13.     Yellowstone is an investment advisor registered with the Securities and Exchange

Commission (“SEC”).

        14.     During 2015, several clients of Yellowstone requested that Yellowstone review

potential overcharging of fees from the clients’ investment accounts.

        15.     Yellowstone reviewed these client accounts, determined that money had been

improperly taken from those accounts, and returned those amounts to clients.

        16.     In April, 2016, Yellowstone discovered improper client account charges with

respect to several additional clients.

        17.     In May, 2016, Yellowstone hired an accounting firm and law firm to conduct an

investigation of amounts improperly taken from client accounts.

        18.     As a result of its investigation, Yellowstone identified additional accounts for

which it had improperly obtained funds from client accounts.




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       19.     Yellowstone began to reimburse affected clients, and ultimately returned to

clients improperly obtained fees in excess of $5,000,000.00.

       20.     Yellowstone, through its attorneys, sent a self-report to the SEC on July 29, 2016,

in which Yellowstone described the overbilling of client accounts, identified the amounts of the

funds improperly taken, and stated that it had returned some of those funds to clients (the “Self-

Report”). A true and correct copy of the Self-Report is attached hereto as Exhibit 1.

       21.     The Self-Report states that it is written “to report possible violations of the

Investment Advisors Act of 1940 and its related rules.”

       22.     The Self-Report states that “Yellowstone had discovered that it had significantly

over-billed some clients.”

       23.     Specifically, the Self-Report states that: “In many instances, Yellowstone billed

its annual fee to various ‘8072’ clients more than once during a 12-month billing period. A little

more than one-third of all ‘8072’ clients were charged their 1% annual fee at the beginning of

their annual billing cycles and then billed again later in the same year.”

       24.     The Self-Report further states that “as a general premise, the advances were taken

to meet Firm payroll and other expenses.”

       25.     The Self-Report states that “In early May 2016, Yellowstone undertook to

reimburse the overcharges to the ‘8072’ clients affected.”

       26.     The Self-Report states that reimbursements to clients of improperly taken funds in

the amount of $4,495,782.62 had previously been made and that $785,802.84 was to be repaid to

clients in October, 2016.

       B.      The SEC Investigation




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       27.      On November 21, 2016, the SEC issued a formal order of investigation into

Yellowstone’s billing practices and overbilling of fees to client accounts (the “SEC Order”).

       28.      The SEC Order states that the SEC has information tending to show the

following:

       In possible violation of Sections 206(1) and 206(2) of the Advisers Act,
       Yellowstone Partners, LLC its officers, directors, employees, partners,
       subsidiaries, and/or affiliates and/or other persons or entities, while acting as
       investment advisers, directly or indirectly, may have been or may be employing
       devices, schemes, or artifices to defraud any client or prospective client, or
       engaging in transactions, practices or courses of business which operated or
       operate as a fraud or deceit upon a client or prospective client.

       As part of these activities, such persons or entities, directly or indirectly, may
       have been or may be making false statements of material fact or omitting to state
       material facts concerning, among other things, billing practices. As part of these
       activities, such persons or entities, directly or indirectly, may have been or may be
       misappropriating or abusing client assets by, among other things, the overbilling
       of fees to client accounts.

       29.      The SEC Order directs that a private investigation be made to determine whether

such violations were committed, and it designates certain officers to conduct that investigation.

       30.      The SEC Order was subsequently amended on December 19, 2016 to designate

additional officers to assist in the investigation of “possible violations of the provisions of the

federal securities laws.”

       31.      The SEC thereafter took a series of investigative steps based upon the SEC Order

(the “SEC Investigation”).

       32.      As part of the SEC Investigation, the SEC began issuing subpoenas in December,

2016. A subpoena was issued to Yellowstone on December 20, 2016. Subpoenas were also

issued to Defendants Hansen, Baird, Weimer, Dustin, and Dalebout (the “Individual

Defendants”).




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       33.     Each subpoena requires the recipient to testify and/or produce documents related

to the SEC Investigation.

       34.     The cover letter to each subpoena states that the SEC is “trying to determine

whether there have been any violations of the federal securities laws.”

       35.     The subpoenas themselves state the SEC “has issued a formal order authorizing

this investigation under Section 20(a) of the Securities Act of 1933, Section 21(a) of the

Securities Exchange Act of 1934, and Section 209(a) of the Investment Advisers Act of 1940.”

       36.     Yellowstone has agreed to indemnify each of the Individual Defendants for all

defense expenses and costs incurred in relation to the SEC Investigation.

       C.      The Wesco Policy

       37.     Wesco issued a “Commercial Policy” for the policy period January 1, 2016 to

January 1, 2017, a true and correct copy of which is attached as Exhibit 2 (the “Policy”).

       38.     The Policy contains multiple coverage parts, including the “D&O Coverage Part,”

and the “Professional Liability Coverage Part.” The Declarations identify Yellowstone Partners,

LLC as the named insured. The policy year aggregate limit of liability is $2 million.

       39.     The D&O Coverage Part includes coverage under Insuring Agreement B

(“Company Indemnification”) and Insuring Agreement C.1 (Company Liability), subject to a

single limit of liability of $2 million and a retention of $25,000. Subject to the other terms and

conditions of the Policy, those two insuring agreements provide coverage as follows:

        B.     COMPANY INDEMNIFICATION COVERAGE – The Insurer will
               pay on behalf of the Company, Loss resulting from any Claim first made
               during the Policy Period or Extended Reporting Period (if exercised)
               against the Insured Persons for which the Company has agreed to or is
               legally permitted or required by law to indemnify the Insured Persons for
               any Wrongful Act.

       C.      COMPANY LIABILITY COVERAGE – The Insurer will pay on

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               behalf of the Company:

               1.      Loss resulting from any Claim first made during the Policy Period
               or Extended Reporting Period (if exercised) against the Company for any
               Wrongful Act not covered in any other Coverage Part made part of this
               Policy . . . .

       40.     Section IV of the D&O Coverage Part contains definitions for certain terms that

appear in bold font in the Policy, including the following:

               Claim means:

               1.      a written demand, other than a Shareholder Derivative Demand, for
                       monetary damages or non-monetary relief;
               2.      a civil proceeding commenced by the service of a complaint or similar
                       pleading;
               3.      a criminal proceeding commenced by a filing of charges or the return of
                       an indictment;
               4.      a formal administrative or regulatory proceeding commenced by a filing of
                       a notice of charges, formal investigative order, service of summons, or
                       similar document;
               5.      an arbitration, mediation or similar alternative dispute resolution
                       proceeding if the Insured is obligated to participate in such proceeding or
                       if the Insured agrees to participate in such proceeding, with the Insurer’s
                       written consent, such consent not to be unreasonably withheld;
               6.      service of a subpoena on an Insured Person identified by name if served
                       upon such person pursuant to a formal investigative order by the Securities
                       and Exchange Commission;
               7.      a Shareholder Derivative Demand solely with respect to Insuring
                       Agreement C.2. only; or
               8.      a written request to toll or waive a statute of limitations relating to a
                       potential civil or administrative proceeding,

               against an Insured for a Wrongful Act. Claim does not include any labor or
               grievance arbitration or other proceeding pursuant to a collective bargaining
               agreement.

               Insured Person means any:

               1.      Executive; or
               2.      Employee.

               Wrongful Act as used in this Coverage Part means any actual or alleged:

               1.      error, omission, misstatement, misleading statement, neglect or breach of

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                      duty by Insured Persons in their capacity as such or, with respect to
                      Insuring Agreement C., by the Company; or
              2.      matter claimed against the Insured Persons solely by reason of their
                      serving in such capacity.

       41.    Section V of the D&O Coverage Part contains certain exclusions to coverage,

including the following:

              Fraud / Illegal Profit and Violation of Law – The Insurer shall not be liable to
              pay any Loss in connection with any Claim made against any Insured arising
              from, based upon, or attributable to:

              1.      the gaining, of any profit, remuneration or pecuniary advantage to which
                      such Insured is not legally entitled; or
              2.      any fraudulent or criminal Wrongful Act with actual knowledge of its
                      wrongful nature or with intent to cause damage by such Insured,

              as evidenced by a final adjudication by a judge, jury or arbitrator in any
              proceeding.

              Securities Offering – The Insurer shall not be liable to pay any Loss in
              connection with any Claim made against any Insured arising from, based upon,
              or attributable to:

              a.      the public offer, sale, solicitation or distribution of securities issued by the
                      Company; or
              b.      the violation of any federal, state, local or provincial statute relating to
                      securities, including the Securities Act of 1933 and the Securities and
                      Exchange Act of 1934, or any rules or regulations promulgated
                      thereunder;

              provided, however, that this exclusion will not apply to:

              1.      any offer, purchase or sale of securities, whether debt or equity, in a
                      transaction that is exempt from registration under the Securities Act of
                      1933 (an “Exempt Transaction”); or
              2.      to the extent that such Claim is made by a security holder of the
                      Company for the failure of the Company to undertake or complete an
                      initial public offering or sale of securities of the Company.

              If at least thirty (30) days prior to any securities offering by the Company, other
              than pursuant to an Exempt Transaction, the Insurer receives notice of the
              proposed transaction and any additional information requested by the Insurer, the
              Company may request a proposal for coverage subject to any additional terms
              and conditions, and payment of any additional premium, described in such

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               proposal.

       42.     The Professional Liability Coverage Part includes coverage under Insuring

Agreement B (“Professional Services Liability”), subject to a single limit of liability of $2

million and a retention of $25,000. Subject to the other terms and conditions of the Policy, that

insuring agreement provides coverage as follows:

               B.     PROFESSIONAL SERVICES LIABILITY – The Insurer will pay on
                      behalf of the Insured, Loss resulting from a Claim first made during the
                      Policy Period or Extended Reporting Period (if exercised), by or on
                      behalf of a customer of the Company for a Wrongful Professional
                      Services Act.

       43.     Section II of the Professional Liability Coverage Part provides definitions for

certain terms that appear in bold font in the Policy. As amended by the Investment Advisor

endorsement, the following definitions are relevant to this matter:

               Claim means:

               1.     a written demand for monetary damages or non-monetary relief;
               2.     a civil proceeding commenced by the service of a complaint or similar
                      pleading;
               3.     a criminal proceeding commenced by a filing of charges or return of an
                      indictment;
               4.     an arbitration, mediation or similar alternative dispute resolution
                      proceeding if the Insured is obligated to participate in such proceeding or
                      if the Insured agrees to participate in such proceeding, with the Insurer's
                      written consent, such consent not to be unreasonably withheld; or
               5.     a written request to toll or waive a statute of limitations relating to a
                      potential civil or administrative proceeding,

               against an Insured for a Wrongful Act including any appeal from such
               proceeding. Claim shall also mean a notice of investigation of violation(s) of law
               or regulation or disciplinary proceedings against an Insured by any governmental
               body or self-regulatory organization, but only if the investigation of violation(s)
               of law or regulation or disciplinary proceedings were initiated by a complaint by
               the Insured's customer or client or former customer or client, arising from the
               Insured's rendering or failure to render Professional Services for that customer
               or client or former customer or client.

               Wrongful Professional Services Act means any actual or alleged act, error,

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              omission, misstatement, misleading statement or breach of duty or neglect by any
              Insured in the rendering of, or failure to render Professional Services. Wrongful
              Professional Services Act does not include a Wrongful Lending Act or a
              Wrongful Trust Services Act.

              Professional Services means services rendered for or advice given to others by an
              Insured for a fee, remuneration, Pro Bono or other consideration in an Insured’s
              practice as a Financial Advisor. Professional Services also includes services
              performed in the capacity of a fiduciary pursuant to ERISA.

       44.    Section III of the Professional Liability Coverage Part contains a number of

exclusions from coverage, including the following:

              Fraud / Illegal Profit and Violation of Law – The Insurer shall not be liable to
              pay any Loss in connection with any Claim made against any Insured arising
              from, based upon, or attributable to:

              1.      the gaining, of any profit, remuneration or pecuniary advantage to which
                      such Insured is not legally entitled; or
              2.      any fraudulent or criminal Wrongful Act with actual knowledge of its
                      wrongful nature or with intent to cause damage by such Insured,

              as evidenced by a final adjudication by a judge, jury or arbitrator in any
              proceeding.

              Fee Dispute – The Insurer shall not be liable under Insuring Agreements B. or C.
              for Loss in connection with any Claim made against any Insured arising from,
              based upon, or attributable to any disputes over fees, commissions, or charges for
              the Company’s services.

       45.    Coverage under the Policy is also subject to the General Terms and Conditions

Applicable to All Coverage Parts of the Policy. Section III of the General Terms and Conditions

Applicable to All Coverage Parts includes the following:

              C.      SINGLE LIMIT / RETENTION – Claims based upon or arising out of
                      the same Wrongful Act or Interrelated Wrongful Acts committed by
                      one or more Insureds shall be considered a single Claim, and only one
                      Retention and Limit of Liability shall apply. Each such single Claim shall
                      be deemed to be first made on the date the earliest of such Claims was
                      first made, regardless of whether such date is before or during the Policy
                      Period.

       46.    Section V of the General Terms and Conditions Applicable to All Coverage Parts

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includes the following:

              C.       INTERRELATED CLAIMS – All Claims or Potential Claims for
                       Interrelated Wrongful Acts will be considered as a single Claim or
                       Potential Claim, whichever is applicable, for purposes of this Policy. All
                       Claims or Potential Claims for Interrelated Wrongful Acts will be
                       deemed to have been made at the time the first of such Claims or
                       Potential Claims for Interrelated Wrongful Acts was made whether
                       prior to or during the Policy Period.

       47.    Section VI of the General Terms and Conditions Applicable to All Coverage Parts

provides as follows:

              A.       DEFENSE OF CLAIMS – The Insurer does not assume any duty-to-
                       defend and contest any Claim made against them, provided that:

                       1.     the Insurer will have the right to participate with the Insured in
                              the investigation, defense and settlement, including the negotiation
                              of a settlement of any Claim that appears reasonably likely to be
                              covered in whole or in part by Coverage Part and the selection of
                              appropriate defense counsel;

                       2.     the Insurer may establish and provide to counsel for the Insured
                              guidelines for the handling of Claims covered under this Policy as
                              a condition of the Insurer’s obligation to pay Defense Expenses,
                              counsel for the Insured shall adhere to the guidelines provided by
                              the Insurer in the defense of such Claims. The Insurer shall not
                              be obligated to pay Defense Expenses that have been incurred
                              without observance of the guidelines, or that otherwise are
                              unreasonable; and

                       3.     upon written request, the Insurer will advance Defense Expenses
                              with respect to such Claim. Such advance payments by the
                              Insurer will be repaid to the Insurer by the Insureds severally
                              according to their respective interests in the event and to the extent
                              that the Insureds are not entitled to payment of such Defense
                              Expenses. As a condition of any payment of Defense Expenses
                              under this subsection, the Insurer may require a written
                              undertaking on terms and conditions satisfactory to the Insurer
                              guaranteeing the repayment of any Defense Expenses paid to or on
                              behalf of any Insured if it is finally determined that any such
                              Claim or portion of such Claim is not covered.
                       ...

       D.     The Parties’ Coverage Dispute

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         48.       Wesco has received requests for coverage under the Policy for the SEC

Investigation from all defendants.

         49.       In these requests, all of the Individual Defendants state that it is their position that

the SEC Investigation “arises from certain alleged wrongful acts referenced in the Formal Order

in connection with the possible violations of the Securities Act of 1933 and the Securities

Exchange Act of 1934.”

         50.       The request submitted by the Yellowstone entity similarly states that the SEC

Investigation arises from “alleged wrongful acts in connection with the possible violations of the

Investment Adviser Act of 1940, the Securities Act of 1933 and the Securities Exchange Act of

1934.”

         51.       The Notice of Claim form submitted by the insureds states that “About 120

Clients were billed more on fees than they should have been billed. Clients have now been paid

back.”

         52.       Yellowstone and each of the Individual Defendants have asked Wesco to advance

defense expenses and indemnify them for any losses “relating to and resulting from the SEC’s

formal investigation.”

         53.       In response to the defendants’ requests for Policy coverage for the SEC

Investigation, Wesco determined that the Policy does not provide coverage for the SEC

Investigation, and Wesco communicated this coverage position to the defendants by letter dated

April 24, 2017. A true and correct copy of Wesco’s coverage position letter is attached as

Exhibit 3 (the “Coverage Position Letter”).

         54.       Wesco denied coverage under the D&O Coverage Part on the following bases:

               •   The definition of “claim” provides, with respect to an SEC subpoena, that only
                   subpoenas served “on an insured person” constitute a “claim,” and therefore there

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                 is no coverage for Yellowstone, LLC.

             •   All coverage under the D&O Coverage Part is excluded by the exclusion for any
                 claim arising from, based upon, or attributable to “the violation of any . . . statute
                 relating to securities.”

       55.       Wesco denied coverage under the Professional Liability Coverage Part on the

following bases:

             •   The SEC Investigation was not “initiated by a complaint by the Insureds’
                 customer or client” and therefore does not constitute a “claim” under this
                 Coverage Part.

             •   The SEC Investigation is not one “arising from the Insureds’ rendering or failure
                 to render Professional Services for that customer or client” as required under this
                 Coverage Part.

             •   The SEC Investigation is not a claim “by or on behalf of a customer of the
                 Company.”

             •   The SEC Investigation is not a claim “for a Wrongful Professional Services Act,”
                 because there is no allegation of any erroneous advice or improperly performed
                 services, only the alleged improper taking of client funds.

             •   Coverage is excluded by the exclusion for loss in connection with any claim
                 “arising from, based upon, or attributable to any disputes over fees, commissions,
                 or charges for the Company’s services.”

       56.       Wesco also determined and communicated to the defendants, in the Coverage

Position Letter, that the SEC Investigation is excluded under both coverage parts, because, if it is

a “claim” under the Policy, then it is a claim “made against any insured arising from, based upon,

or attributable to . . . the gaining of any profit, remuneration or pecuniary advantage to which

such Insured is not legally entitled.”

       57.       This declaratory judgment action is a “proceeding” in which the improper

financial gain exclusion can be adjudicated.

       58.       Wesco also reserved its rights based upon the Policy’s exceptions to the definition

of “loss,” general provisions regarding non-admission of liability, the prior knowledge exclusion,

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prior notice exclusion, the fraud exclusion, and other insurance provisions. Wesco also generally

reserved all its rights under the Policy and at law.

       59.     Without waiving its coverage denial, Wesco determined that it would advance

defense expenses for the Defendants, on an interim basis, subject to the specific reservations of

rights identified in the Coverage Position Letter and general reservation of rights, the Policy’s

$25,000 retention and $2 million limit of liability, and subject to Wesco’s right to obtain a refund

of all such defense expenses advanced through this declaratory judgment action.

       60.      Pursuant to the above reservations, Wesco has advanced payments for the

defense of each Defendant named in this Complaint. As of November 3, 2017, the total amount

of defense expenses advanced by Wesco on behalf of the Defendants was $407,150.96.

       61.     As a condition for receiving such payments, each Defendant has signed a written

undertaking, stating that the signatory “hereby guarantees the repayment of any Defense

Expenses paid to or on behalf of such Signatory if it is finally determined that the SEC

Investigation or any portion of such SEC Investigation is not covered.”

       62.     True and correct copies of the guarantees signed by Defendants Yellowstone,

Hansen, Baird, Dalebout, Dustin, and Weimer are attached hereto as Exhibit 4.

       63.     Wesco now seeks a declaration that loss incurred by the Defendants in connection

with the SEC Investigation is not covered, and that Wesco is entitled to repayment of the defense

expenses advanced.

                          COUNT I – DECLARATORY JUDGMENT
                              (No Coverage under the Policy)

       64.     Wesco hereby incorporates by reference the allegations contained in paragraphs

1-63 of this Complaint, as if set forth fully herein.




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       A.      The Improper Financial Gain Exclusion Bars Coverage for the SEC
               Investigation

       65.     The Self-Report admits that Yellowstone wrongfully took client funds.

       66.     The Self-Report is an admission that Yellowstone gained profit, remuneration, or

pecuniary advantage to which it was not legally entitled.

       67.     The Policy’s improper financial gain exclusion applies to the SEC Investigation,

and therefore excludes all coverage under the Policy for the SEC Investigation.

       B.      There is No Coverage for the SEC Investigation Under the D&O Coverage Part

       68.     The definition of “claim” under the D&O Coverage Part does not include the SEC

Investigation into Yellowstone.

       69.     The SEC Investigation is not covered by the Policy because it is a claim arising

from, based upon, or attributable to “the violation of any….statute relating to securities.”

       C.      There is No Coverage for the SEC Investigation under the Professional
               Liability Coverage Part

       70.     The SEC Investigation was not “initiated by a complaint by the Insureds’

customer or client” and therefore does not constitute a defined “claim” under this Coverage Part.

       71.     The SEC Investigation is not one “arising from the Insureds’ rendering or failure

to render Professional Services for that customer or client,” as required by this Coverage Part.

       72.     The SEC Investigation is not a claim “by or on behalf of a customer of the

Company,” as required by this Coverage Part.

       73.     The SEC Investigation is not a claim “for a Wrongful Professional Services Act”

under this Coverage Part, because there is no allegation of any erroneous advice or improperly

performed services, only alleged improper taking of client funds.




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       74.     Coverage is excluded by the exclusion in this Coverage Part for loss in connection

with any claim “arising from, based upon, or attributable to any disputes over fees, commissions,

or charges for the Company’s services.”

       75.     Wesco is entitled to a declaration that it is not obligated to pay any loss, including

defense expenses or indemnification, to any of the Defendants related to the SEC Investigation.

                         COUNT II – DECLARATORY JUDGMENT
                           (Refund of Defense Expenses Advanced)

       76.     Wesco hereby incorporates by reference the allegations contained in paragraphs

1-75 of this Complaint, as if set forth fully herein.

       77.     The Policy provides that defense expenses advanced by Wesco “will be repaid to

the Insurer by the Insureds severally according to their respective interests in the event and to

the extent that the Insureds are not entitled to payment of such defense expenses.”

       78.     Each of the Defendants has guaranteed to Wesco “the repayment of any Defense

Expenses paid to or on behalf of any insured if it is finally determined that any such Claim or

portion of such Claim is not covered.”

       79.     For the reasons described in Count I above, the SEC Investigation is not covered

under the Policy.

       80.     Wesco is entitled to repayment from the defendants of all amounts paid by Wesco

for defense expenses related to the SEC Investigation.

       81.     Pursuant to 28 U.S.C. § 2202, Wesco is also entitled to further necessary and

proper relief in the aid of this declaration, including but not limited to a monetary judgment in

favor of Wesco and against Defendants for such advanced defense expenses.

       WHEREFORE, Wesco respectfully requests the following relief:




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       1.      An Order declaring that Wesco has no obligation, under the Policy or otherwise,

to pay any loss incurred by any of the defendants, including defense expenses, in connection

with the SEC Investigation;

       2.      An Order declaring that Wesco is entitled to repayment from the defendants of the

amounts advanced to or on behalf of the defendants related to the SEC Investigation;

       3.      An Order granting further necessary and proper relief in aid of the declaration

requested in paragraph 3 above, including but not limited to a monetary judgment in favor of

Wesco and against the defendants, according to their respective interests.

       4.      An Order awarding Wesco its costs and disbursements incurred herein; and

       5.      Such further relief as the Court deems just and proper.

                                     Respectfully submitted,

                                     MERRILL & MERRILL

Dated: December 1, 2017              By:     /s/ Kent L. Hawkins
                                             Kent L. Hawkins, Esq.
                                             109 North Arthur Ave., 5th Floor
                                             Pocatello, ID 83204
                                             Phone: (208) 232-2286
                                             Fax: (208) 232-2499
                                             khawk@merrillandmerrill.com

                                     and

                                     GREGERSON, ROSOW, JOHNSON & NILAN, LTD.
                                         Joseph A. Nilan, Esq.
                                         Daniel A. Ellerbrock, Esq.
                                         100 Washington Square, Suite 1550
                                         Minneapolis, MN 55401
                                         Phone: (612) 338-0755
                                         Fax: (612) 349-6718
                                         jnilan@grjn.com
                                         dellerbrock@grjn.com
                                         (to be admitted pro hac vice)

                                     Attorneys for Wesco Insurance Company

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